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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 HASSAN CHUNN; NEHEMIAH McBRIDE;
 AYMAN RABADI by his Next Friend Migdaliz
 Quinones; and JUSTIN RODRIGUEZ by his Next
 Friend Jacklyn Romanoff, individually and on
 behalf of all others similarly situated,                      Civil Action No.
                                                              20-CV-1590 (Kovner, J.)
                                    Petitioners,

                  -against-

 WARDEN DEREK EDGE,

                                    Respondent.

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  RESPONDENT’S SUPPLEMENTAL MEMORANDUM OF LAW IN OPPOSITION TO
      PETITIONERS’ MOTION FOR A TEMPORARY RESTRAINING ORDER




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                                                              April 1, 2020



 JAMES R. CHO
 Assistant United States Attorney
 (Of Counsel)
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                                   PRELIMINARY STATEMENT

        Pursuant to the Court’s April 1, 202 Order, Respondent Derek Edge, Warden of the

 Metropolitan Detention Center in Brooklyn, New York (“MDC”), respectfully submits this

 Supplemental Memorandum of Law in Opposition to Petitioners’ Motion for a Temporary

 Restraining Order (“TRO”).

        The Court’s April 1, 2020 states as follows:

        ORDER: In preparation for the hearing on petitioners' request for a temporary restraining
        order, the parties should be prepared to discuss: (1) the extent to which petitioners and
        other inmates in the proposed class have alternative avenues for obtaining release,
        including compassionate release and bail, and whether the availability of alternative
        avenues bears on the TRO analysis; (2) why orders of release from custody, instead of
        orders directed at constitutionally deficient conditions, are the appropriate remedy for any
        such conditions; and (3) the relevance, if any, of additional BOP measures publicly
        reported this evening (“BOP COVID-19 Action Plan Phase Five”). If Respondent
        believes that the new BOP measures are relevant, the Court requests that Respondent
        submit a supplemental declaration that outlines the additional measures or incorporates a
        memorandum setting out those measures. Ordered by Judge Rachel P. Kovner on
        4/1/2020. (Hershey, Kenneth).

 Dkt. Entry dated April 1, 2020.

        As discussed further below, (1) the existence of alternative remedies available to

 Petitioners obviates the need for a TRO; (2) orders of release from custody are not the

 appropriate remedy here; and (3) the BOP COVID-19 Action Plan Phase Five defeats

 Petitioners’ claim for a TRO.

        1.      Existence of Available Alternative Remedies Obviates
                The Need for A Temporary Restraining Order

              The named Petitioners in this action are all sentenced inmates. As stated in

 Respondent’s Opposition (“Resp. Opp.” or “Opposition”), Petitioners have alternative methods
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 for securing early release. See, e.g., 18 U.S.C. § 3582 (compassionate release); 18 U.S.C. §

 3624(c) (prerelease custody/home confinement). Resp. Mem. at 20. 1

            As noted in Respondent’s Opposition filed yesterday, BOP has a policy regarding

 potential home confinement. At the request of the Federal Defenders of New York, this Office

 and BOP are reviewing the cases of 11 inmates who they believe are eligible for home

 confinement. This Office is conferring with BOP regarding these cases. BOP also continues to

 review each case and will make a final determination pursuant to its policies.

            Sentenced inmates at MDC may elect to pursue compassionate under 18 U.S.C. § 3582.

 However, the application for such a release generally should be made in the court of the district

 of conviction. Importantly, with regard to the instant action, among the named petitioners, all

 but Petitioner Chunn were prosecuted and convicted in the Southern District of New York.

 Thus, Petitioners Rodriguez, McBride, and Ribadi should be seeking compassionate release in

 the Southern District of New York.

            A number of defendants who have sought early release on these and other grounds out of

 fear of contracting COVID-19 while housed at the MDC. See, e.g., United States v. Hamilton,

 No. 19-CR-54-01, 2020 WL 1323036, at *2 (E.D.N.Y. Mar. 20, 2020) (Garaufis, J.); United

 States v. Redzepagic, No. 17-cr-228 (DRH) (AKT), Dkt. No. 118 (E.D.N.Y. Mar. 30, 2020);

 United States v. Cohen, No. 17-CR-544 (E.D.N.Y. Mar. 25, 2020) (Garaufis, J.) (denying

 defendant Cohen’s motion for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A)(ii),

 where Cohen argued that the COVID-19 pandemic constituted “extraordinary and compelling

 reasons” for his relief and argued he was at risk of getting the virus); United States v. Amato, et

 al., No. 19-CR-442 (E.D.N.Y. Mar. 27, 2020) (Glasser, J.) (denying Scorcia’s application for



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     Inmates also may secure emergency bail under 18 U.S.C. § 3142(i).

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 emergency release based on COVID-19); United States v. Brown, No. 19-CR-88 (E.D.N.Y.)

 (Feuerstein, J.) (denying defendant’s bail application, finding that he is a danger and has not been

 shown to be at a greater risk to contract COVID-19 in jail versus out). The government will of

 course consider whether to consent to release in cases that it has prosecuted. See, e.g., United

 States v. Marin, 15-CR-252 (PKC) (inmate in Allenwood released under compassionate release;

 government consented based on age and deteriorating health).

        MDC also has a sizable population of pre-trial detainees, and these detainees can make

 bail applications based on the circumstances presented by COVID-19. The statute that governs

 is the Bail Reform Act, 18 U.S.C. §§ 3141-56, and bail decisions are based on a highly

 individualized, fact specific inquiry. Bail applications must be made before the judge who is

 assigned to the inmate’s prosecution. In additional the standard motions for release by pretrial

 defendants, 18 U.S.C. § 3142(b), or for post-conviction release, 18 U.S.C. § 3143, or bail

 pending appeal, 18 U.S.C. § 3143(b)(1), a defendant may seek release under 18 U.S.C. § 3142(i),

 which provides that a “judicial officer may, by subsequent order, permit the temporary release of

 [a] person, in the custody of a United States marshal or another appropriate person, to the extent

 that the judicial officer determines such release to be necessary for preparation of the person’s

 defense or for another compelling reason.” Certain extreme medical circumstances may present

 “compelling reasons” that could warrant a highly circumscribed release. See United States v.

 Scarpa, 815 F. Supp. 88 (E.D.N.Y. 1993). Various applications of this type have already been

 made in the EDNY. See United States v. Lipsky No. 19-CR-203 (E.D.N.Y. Mar. 24, 2020)

 (Garaufis, J.) (denying defendant’s emergency bail application seeking release from the MDC

 based on the general risk of contracting COVID-19 at the MDC); United States v. Campbell, No.

 18-CR-467 (E.D.N.Y. Mar. 25, 2020) (DeArcy Hall, J.) (denying defendant’s emergency bail



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 application due to COVID-19, ruling that no exceptional circumstances existed pursuant to 18

 U.S.C. § 3145).

        Most significant here, these various avenues are the appropriate way for the individuals

 incarcerated at MDC to pursue the fact-specific determinations needed to decide whether they

 can be released. The need for a sweeping TRO is unnecessary where, as here, Petitioners and

 others incarcerated at the MDC have alternative methods for seeking early release. See

 Canadian St. Regis Band of Mohawk Indians ex rel. Francis v. Town of Bombay, NY, 484 F.

 App’x 586, 588 (2d Cir. 2012) (TRO denied in part because of the existence of alternative

 remedies); SEC v. Geon Industries, Inc., 531 F.2d 39, 55 (2d Cir. 1976) (justifying denial of the

 injunction in part because of the availability of the alternative remedies).

        Moreover, “[i]t is hornbook law that ‘the general purpose of a preliminary injunction is to

 preserve the status quo pending final determination of the action.’” Unicon Mgmt. Corp. v.

 Koppers Co., 366 F.2d 199, 204 (2d Cir. 1966) (emphasis added)). Further, the interim

 injunctive relief Petitioners seek here is inappropriate because it is the same as the relief

 Petitioners ultimately seek through their writ of habeas corpus -- release from detention. See,

 e.g., Powell v. Fannie Mae, No. 16-cv-1359 (LTS) (KNF), 2017 WL 712915, at *2 (S.D.N.Y.

 Feb. 2, 2017) (report and recommendation) (the “purpose of a preliminary injunction is to

 preserve the status quo between the parties pending a full hearing on the merits,” and such

 injunctive relief “is improper where it would give the plaintiff substantially all the ultimate relief

 [he] seeks”); Guy v. Tanner, No. 13-cv-6750, 2014 WL 2818684, at *4 (E.D. La. June 23, 2014)

 (“Guy’s motion is no more than a veiled attempt to expedite the resolution of his habeas petition.

 This is not a proper basis for issuing an injunction.”); Idowu v. Ridge, No. 03-cv-1293, 2003 WL

 21805198, at *6 (N.D. Tex. Aug. 4, 2003) (“In this instance, petitioner seeks a TRO not to



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 preserve the status quo, but rather, to obtain expeditious resolution of his habeas petition. The

 Court need not determine the propriety of seeking a TRO in such instances.”). Indeed, the relief

 sought by Petitioners is not “‘temporary’ or ‘preliminary,’ but rather is the exact same ultimate

 relief [he] seeks in [his] petition.” Taiebat v. Scialabba, 2017 WL 747460, at *3 (N.D. Cal. Feb.

 27, 2017) (denying motion for a preliminary injunction) (citing Senate of State of Cal. v.

 Mosbacher, 968 F.2d 974, 978 (9th Cir. 1992) (“[a] judgment on the merits in the guise of

 preliminary relief is a highly inappropriate result”)); Moshin v. Cissna, No. 18-CV-2931

 (E.D.N.Y. May 31, 2018) (denying plaintiffs’ motion for a preliminary injunction, as the

 plaintiffs’ “request[] for relief that is the ultimate relief in a petition not available at preliminary

 injunction”) (Vitaliano, J.).

         2.      Orders of Release From Custody Are Not the Appropriate Remedy Here

         An order of release from custody is not appropriate here where Petitioners allege

 constitutionally deficient conditions. Deprivations of constitutional rights while in custody can

 generally be addressed by habeas corpus relief, 28 U.S.C. § 2241, mandating the alleviation of

 the unconstitutional condition or the release of the prisoner. See Sanford v. Bruno, No. 17-CV-

 5132, 2018 WL 2198759, at *6 (E.D.N.Y. May 14, 2018) (Cogan, J.) (“Deprivations of

 constitutional rights while in custody can generally be addressed by habeas corpus relief, 28

 U.S.C. § 2241, mandating the alleviation of the unconstitutional condition or the release of the

 prisoner); see also Fulton v. Core Servs. Grp. Inc., No. 19CV7050PKCSJB, 2020 WL 352495, at

 *3 (E.D.N.Y. Jan. 21, 2020) (Chen, J.) (citing Sanford). However, Courts are reluctant to release

 prisoners without first allowing the government first to attempt to alleviate any alleged

 unconstitutional condition of confinement. See Simmons v. Reynolds, 898 F.2d 865, 868-69 (2d

 Cir. 1990) (“[a]lthough the major function of the writ of habeas corpus has always been to obtain



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 release from illegal custody, the statute empowering federal courts to grant the writ does not

 provide immediate release as the only relief available to a petitioner. Instead, it directs the court

 to ‘dispose of the matter as law and justice require.’ 28 U.S.C. § 2243. Thus district courts may

 fashion appropriate relief other than immediate release.”) (citing Preiser v. Rodriguez, 411 U.S.

 475, 484-86 (1973)).

        As set forth in Respondent’s principal opposition brief, BOP and MDC have taken strong

 measures to reduce the risk of COVID-19 for inmates and have reduced inmate populations,

 increased sanitation and screening, limited visitors, increased testing and improved isolation

 protocols. But even if, arguendo, the Court were to accept Petitioners’ baseless assertions as to

 the conditions of confinement at MDC, the proper remedy here is an order directed at the

 allegedly constitutionally deficient conditions — not an order allowing for the blanket release of

 BOP prisoners into New York City.

        Moreover, serious medical conditions have only been grounds for release on bail in a

 handful of situations, specifically where the petitioner himself is gravely ill and release was to a

 medical facility to receive specialized care. See United States v. Mett, 41 F.3d 12821, 1282 n.4

 (9th Cir. 1994) (explaining that special circumstances warranting bail “include a serious

 deterioration of health while incarcerated[.]”) (internal quotation marks and citations omitted);

 Johnston v. Marsh, 227 F.2d 528, 529 (3rd Cir. 1955) (affirming bail where petitioner, an

 advanced diabetic who was “rapidly progressing toward total blindness,” was not given general

 release but admitted to a private hospital for medically advanced treatment). Given the current

 facts as alleged by Petitioners, there is no allegation that Petitioners themselves are in need of

 urgent medical care. Nor is there any basis to believe that, even if they were in need of medical

 care, they would be unable to receive such treatment while still incarcerated.


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        3.      BOP Issues Additional Guidance

        On March 31, 2020, after Respondent had submitted its Opposition, the BOP ordered the

 implementation of “Phase 5 of its COVID-19 Action Plan,” effective tomorrow, April 1, 2020

 (referred to as “Phase 5”) Phase 5.

 (https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp.)


        In light of the BOP’s directive, the MDC has taken immediate steps to implement Phase 5

 as described in the attached Supplemental Declaration of Associate Warden Milinda King See

 Supplemental Declaration of Associate Warden Milinda King (“King Supp. Decl.”) filed

 herewith.

                                         CONCLUSION

        For all of the foregoing reasons, Petitioners have not satisfied their heavy burden of

 establishing entitlement to mandatory injunctive relief, and their Motion for a Temporary

 Restraining Order should be denied.


 Dated: Brooklyn, New York                    RICHARD P. DONOGHUE
        April 1, 2020                         United States Attorney
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